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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


THE UNITED STATES OF AMERICA                                                  05-CR-15E

             -vs-                                                        MEMORANDUM
                                                                                 and
RICHARD VEGA                                                                  ORDER1



      Defendant Richard Vega is charged in counts 1 and 3 of a three-count

indictment with violations of 21 U.S.C. §§841(a)(1) and 846 and 18 U.S.C. §2 —

specifically, with conspiracy to possess with intent to distribute 100 grams or

more of a mixture and substance containing heroin (count 1) and with unlawful

possession with intent to distribute heroin (count 3). On March 14, 2005 Vega

filed an omnibus motion seeking, inter alia, to suppress evidence of approximately

654 grams of heroin seized from a vehicle he was driving on January 4, 2005. On

May 24, 2005 Magistrate Judge Leslie G. Foschio issued a Report and

Recommendation (“the R&R”) in which he concluded that Vega’s motion to

suppress should be denied because Vega had failed to establish a possessory

interest in the vehicle searched and, alternatively, because the agents had

probable cause to search the vehicle. On June 7, 2005 Vega filed objections to the

R&R. The government filed a response on July 20, 2005. The objections were

argued and submitted on July 29, 2005.



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      The relevant facts are taken from Drug Enforcement Administration agent

Mark F. Gentile’s affidavit in support of the criminal complaint. On January 3,

2005, a confidential informant (“the CI”) contacted agent Gentile advising that the

CI could obtain a sample of heroin on January 4, 2005. On January 4, agents

began surveillance of the CI and observed him meeting with several individuals,

subsequently identified as Victor Quinones, Juan Jimenez and Osvaldo Jimenez,

in a Pennsylvania-registered Chevrolet Impala. From those individuals, the CI

procured a sample of a substance which field-tested positive for heroin. The CI

then made arrangements to purchase one-half kilogram of heroin.

      The agents continued their surveillance of the CI and the individuals in the

Impala and observed them arrive at 24 Argus Street in Buffalo, New York. At that

address, Victor Quinones exited the Impala and entered a blue Honda Accord

being driven by defendant Richard Vega. Both the Impala and the Accord left the

Argus Street address and proceeded south toward the Skyway, at which time the

agents directed an Erie County Deputy Sheriff to stop both vehicles. Once the

vehicles were stopped, the agents observed a black napkin wrapped around

approximately 654 grams of heroin in plain view on the floorboards of the Accord.

      Vega made a motion to suppress the heroin, arguing that he had a

legitimate expectation of privacy in the Accord he was operating and therefore

the warrantless search and seizure violated his Fourth Amendment rights. In the

R&R, the Magistrate Judge concluded that Vega’s motion to suppress the heroin

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should be denied without an evidentiary hearing because Vega had failed to

allege facts demonstrating a possessory interest in the Accord, and thus had

failed to establish his standing to contest the search of the Accord and seizure of

the heroin. In his objections, Vega argues first that his possessory interest in the

Accord is established by the facts of the case and secondly that the agents lacked

probable cause to stop his vehicle, requiring that the heroin be suppressed.

      The district court reviews de novo the portions of an R&R to which

objections have been filed. See 28 U.S.C. § 636(b)(1)(A). If a party fails to object

to a particular portion of an R&R, further review thereof is generally precluded.

See Mario v. P&C Food Markets, Inc., 313 F.3d 758, 766 (2d Cir. 2002) (citing Small

v. Sec’y of Health & Human Servs., 892 F.2d 15, 16 (2d Cir. 1989)). Furthermore, on

de novo review, the Court generally does not consider arguments or evidence

which could have been, but were not, presented to the Magistrate Judge. See

Paterson-Leitch Co., Inc. v. Massachusetts Mun. Wholesale Elec. Co., 840 F.2d 985

(1st Cir. 1988). Herein, upon de novo review of the R&R and after reviewing the

submissions and hearing argument from the parties, the Court adopts the

proposed findings and conclusions of the R&R.

      “[A] defendant is obligated to show that he had a legitimate expectation

of privacy in the area searched before he can invoke the protection of the Fourth

Amendment.” United States v. Smith, 621 F.2d 483, 486 (2d Cir. 1980). “[I]n order

to challenge a search, a defendant must submit an affidavit from someone with

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personal knowledge demonstrating sufficient facts to show that [the defendant]

had a legally cognizable privacy interest in the searched premises at the time of

the search.” United States v. Ruggiero, 824 F. Supp. 379, 391 (S.D.N.Y. 1993), aff’d

sub nom. United States v. Aulicino, 44 F.3d 1102 (2d Cir. 1995)(internal citations

omitted).

      Vega failed to submit — by affidavit or otherwise — any evidence

demonstrating his ownership of the Accord or that he had the permission of the

registered owner to use the Accord. The affidavit in support of the omnibus

motion submitted by Vega’s counsel — which affidavit is made upon information

and belief — alleges only that Vega was operating the Accord and lawfully

traveling on a public thoroughfare at the time it was pulled over by the agents.

See Torres’s Affidavit at ¶¶33, 34. Neither assertion, even if made upon personal

knowledge, is sufficient to establish Vega’s right to challenge the search of the

Accord and the seizure of the heroin on Fourth Amendment grounds. “[M]ere

occupancy [or control] of a car does not demonstrate the required ‘legitimate

basis’” to challenge a search on Fourth Amendment grounds. Ruggiero, supra,

at 392. Vega’s argument that his “ownership and operation” of the Accord are

established by the reference to “Vega’s vehicle” in the government’s affidavit

opposing his motion to suppress and by agent Gentile’s affidavit in support of the

criminal complaint is patently without merit. See Objections at 5.



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       Furthermore, as the Magistrate Judge found, even if Vega had successfully

demonstrated his interest in the Accord, the warrantless search was justified by

the “automobile exception” to the Fourth Amendment warrant requirement.

“Police may conduct a warrantless search of a readily mobile motor vehicle if

probable cause exists to believe the vehicle contains contraband or other

evidence of a crime.” United States v. Gaskin, 364 F.3d 438, 456 (2d Cir. 2004)

(citations omitted). Probable cause exists “where the facts and circumstances

within *** the officer’s knowledge and of which they had reasonably trustworthy

information are sufficient in themselves to warrant a man of reasonable caution

in the belief that evidence of a crime will be found in the place to be searched.”

Ibid. (citations and quotations omitted).      “The standard does not demand

certainty but only a fair probability that contraband or evidence of a crime will be

found.” Ibid. (citations omitted).

      Here, the agents’ surveillance revealed that the individuals in the Impala,

including Victor Quinones, had provided a sample of a substance to the CI. That

sample had tested positive for heroin. The individuals in the Impala had then

agreed to provide the CI with one-half kilogram of heroin. After making such

arrangements, the individuals had met with Vega at the Argus Street address and

Quinones had entered the Accord with Vega. Based on all of the facts and

circumstances existing on January 4, 2005, the agents had probable cause to



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believe that contraband or other evidence of a crime would be found in the

Accord, justifying the warrantless search.

      Accordingly, it is hereby ORDERED that Vega’s objections to the R&R are

denied and the R&R is adopted in its entirety.

DATED:      Buffalo, N.Y.

            August 16, 2005


                                                 /s/ John T. Elfvin
                                                 JOHN T. ELFVIN
                                                       S.U.S.D.J.
